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            ORDERED in the Southern District of Florida on February 19, 2019.




                                                             A. Jay Cristol, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________
                                                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION

                                                    CASE NO. 18-15647-BKC-AJC

                                                    CHAPTER 13


          IN RE:

          MANUEL J. ROJAS,
               Debtor.
                                   /
          AGREED ORDER SUSTAINING DEBTOR’S OBJECTION TO CLAIM NO. 1 FILED BY
                    MAYOR JEWELERS A/K/A BIRKS AND MAYORS INC.

                   THIS       CAUSE         having         come        on       to     be     heard

          on the Debtor's Objection to Claim No. 1 filed by Mayor Jewelers a/k/a Birks and Mayors

          Inc., [ECF 60], this Court having noting agreement of parties and based upon the record,

          it is,

                   ORDERED:

                   1.     Claim No. 1 filed by Mayor Jewelers a/k/a Birks and Mayors Inc., is

          SUSTAINED and ALLOWED as a secured claim, in the amount of $5,078.49, which



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shall be paid with interest at 5.25%, for a total amount of $5,785.21, to be paid over the

life of the plan.

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Submitted by:
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Copies furnished to:
Michael A. Frank, Esquire
Nancy Neidich, Trustee
Ashley Prager Popowitz, Esquire

        Attorney, Michael A. Frank, is directed to mail a conformed copy of this Order to
all interested parties immediately upon receipt.




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